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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   :                          CRIMINAL NO. 21-CR-563 (JDB)
                                            :
                                            :
VICTORIA CHARITY WHITE                  :

            MOTION FOR LEAVE TO WITHDRAW AS COUNSEL


      COMES NOW Attorney Nicole Cubbage, counsel for defendant Victoria

Charity White, to respectfully move this Honorable Court for the entry of an Order

granting leave to withdraw as counsel in 21-CR-563-JDB. As grounds, the

following is stated by undersigned counsel:

      1.    Undersigned counsel was first appointed to be Mr. White’s standby

           counsel when she elected to proceed pro se in this matter.

      2.   Undersigned counsel entered an appearance as standby counsel on

           October 18, 2022.

      3.   On November 2, 2022 a status conference was held in this matter and at

           that time Ms. White elected to have undersigned counsel appointed to

           represent her as her court appointed counsel. This Honorable Court

           granted Mr. White’s request and undersigned counsel was appointed to

           represent Ms. White as her court appointed attorney moving forward as

           of that date.
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4.   At the next status hearing in this case, Ms. White indicated a desire to

     continue discussions about a possible disposition of this case. This Court

     then set a hearing for a possible disposition in this matter for February 10,

     2023.

5.   At the February 10, 2023 hearing, which was converted to a status

     hearing, Ms. White rejected the plea offer of the government and a new

     scheduling order was set by this Court establishing motions deadlines, a

     pretrial conference date and a trial date.

6.   Trial was set for May 8, 2023.

7.   Motions were set for February 24, 2023 and undersigned counsel filed

     several dispositive motions as well as an expert notice on that date.

8.   Ms. White has now expressed the desire to retain her own counsel rather

     than have court appointed counsel in this matter. Additionally, she has

     expressed a desire to motion this court for a continuance of the trial date

     to allow for her to retain such private counsel and prepare for trial with

     that new attorney.

9.   Undersigned counsel was informed on March 1, 2023 of Ms. White’s

     desire to obtain retained counsel and her desire to have undersigned

     counsel withdraw from her case.




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      10.   Ms. White should not be compelled to proceed to trial with a court

            appointed attorney if she does not have full faith and confidence in court

            appointed representation.

      11.   A status hearing is hereby requested to address Ms. White’s desire to

            have different representation moving forward. It is hereby requested that

            this status hearing be virtual for all parties.

      WHEREFORE, the foregoing reasons, and for such other reasons as may

appear just and proper, undersigned counsel respectfully requests this Honorable

Court for entry of an Order granting leave to withdraw as counsel for the

defendant in case 21-cr-563.

                                           Respectfully Submitted,

                                              /s/ Nicole Cubbage
                                           Nicole Cubbage
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                                 Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record
                            on this 1st day of March, 2023.
                                    ____/s/______
                                    Nicole Cubbage
                                Attorney for Ms. White

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